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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

STEPHEN K. LUMOR and EUNICE                    )
ABIEMO,                                        )
                                               )   Civ. No. 1:15-cv-00561-SLR
               Plaintiffs,                     )
                                               )
        v.                                     )
                                               )
JOSEPH C. REYNOLDS, and FEDEX                  )
FREIGHT, INC.,                                 )
                                               )
               Defendants.                     )

                              STIPULATION OF DISMISSAL

       The parties hereby stipulate and agree, by and through their undersigned counsel, that the

above-captioned action be and hereby is dismissed with prejudice.


WEIK, NITSCHE & DOUGHERTY                          ALLSTATE INSURANCE COMPANY

/s/ Gary S. Nitsche                                /s/ Mary E. Sherlock
GARY S. NITSCHE, P.A. (#2617)                      MARY E SHERLOCK, ESQ. (#2228)
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Wilmington, DE 19899                               (302) 346-6377
(302) 655-4040                                     Attorney for Defendants
Attorneys for Plaintiff

       SO ORDERED this               day of                               , 2016.



                                                   The Honorable Sue L. Robinson




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